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                    UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )
             -vs-                           ) Case No. CR-24-287-G
                                            )
LANDON KYLE SWINFORD,                       )
    a/k/a Landon Strohbart,                 )
    a/k/a Usama Sajid Al-Hashim,            )
    a/k/a Abu Labeeb Al-Amriki,             )
                                            )
                            Defendant.       )

             JOINT STATEMENT OF DISCOVERY CONFERENCE

This joint statement is submitted pursuant to LCrR16.1(b).

1.     Date Conference Held: July 30, 2024, within fourteen (14) days of the appearance
before Magistrate Judge Suzanne Mitchell where a plea of not guilty was entered.

2.    Names of the attorneys who attended the conference:
      U.S. Attorney/AUSA: Matt Dillon
      Defense Attorney: J.P. Hill
      ☐ Retained ☒ Federal Public Defender/Assistant FPD or ☐ CJA Panel Member

Counsel met for purposes of exchanging discovery materials in accordance with the
Federal Rules of Criminal Procedure as supplemented by the Local Criminal Court
Rules and any orders of this Court and, as a result of the conference, the undersigned
counsel report the following:

3.    The specific time, date and place at which the offense(s) charged is/are alleged to
have been committed:

      Count 1: Transportation of Child Pornography involving prepubescent minors
      between on or about April 22, 2023, and on or about April 24, 2023, in Blanchard,
      OK;

      Count 2: Possession of Child Pornography between on or about April 22, 2023, and
      on or about April 24, 2023, in Blanchard, OK; and
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       Count 3: Transmitting a communication in interstate commerce containing a threat
       on or about October 3, 2023, in Blanchard, OK

4.      (a)(1) Any contested issues of discovery and inspection raised by counsel for
plaintiff:

       Not at this time, but discovery is still an ongoing process.

        (2) Any contested issues of discovery and inspection raised by counsel for
defendant:

       Reserved by defense until all discovery is provided.

       (b)     Any additional discovery or inspection desired by either party:

       The government is still in the process of preparing and producing discovery due to
       potential issues identified in Doc. 11. Additionally, the government is waiting to
       produce other discovery until an order is entered pursuant to the agreed motion for
       protective order (Doc. 12).

5.     The fact of disclosure of all materials favorable to the defendant or the absence
thereof within the meaning of Brady v. Maryland and related cases:

       Counsel for plaintiff expressly acknowledges continuing responsibility to disclose
any material favorable to defendant within the meaning of Brady that becomes known to
the government during the course of these proceedings.

6.    The fact of disclosure of the existence or nonexistence of any evidence obtained
through electronic surveillance or wiretap:

       The government is preparing copies of surreptitiously recorded conversations.

7.     The fact of disclosure of the contemplated use of the testimony of an informer.
(Include only the fact an informer exists and not the name or testimony thereof):

       The government does not anticipate calling an informer to testify.

8.      The fact of disclosure of the general nature of any evidence of other crimes, wrongs,
or acts the government intends to introduce at trial pursuant to Fed. R. Evid. 404(b):

       404(b) evidence will be provided in discovery to the defendant.




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9.     The fact of disclosure of the prior felony convictions of any witness the government
intends to call in its case-in-chief:

       The government is not aware of any felony convictions for any of its witnesses but
       will continue to inquire and disclose to the defendant should that change.

10.   The resolution, if any, of foundational objections to documentary evidence to be
used by both parties (except for the purpose of impeachment):

       This matter is reserved by both parties until discovery is complete.

11.    The resolution, if any, of chain-of-custody matters (where at issue):

       This matter is reserved by both parties until discovery is complete.

12.    The resolution, if any, of the admissibility of any reports containing scientific
analysis without requiring the expert's attendance at trial:

       The government is unaware of any scientific analysis done in this investigation.

13.  The parties will provide each other with the opportunity to inspect any
demonstrative evidence, representational exhibits or charts.

      Counsel for both parties state that presently there are no additional matters of
discovery presently known.

       Counsel expressly acknowledge the obligation to produce these items(s) as soon as
practicable, but in no event later than fourteen (14) days prior to the trial of this cause.
Counsel also expressly acknowledges continuing obligation to disclose any materials that
become known to counsel during the course of the pretrial investigation of this cause.

14.    Notice of Alibi:

       Reserved by defense.

       Pursuant to Fed. R. Crim. P. 12.1(a)(1), the United States requests notice of any alibi
       defense, based on the time, date, and place of the offense as alleged in the
       Indictment.

15.    Notice of Insanity Defense or Expert Testimony of Defendant's Mental Condition:

       Reserved by defense.



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16.   Notice of Defense Based on Public Authority:

      Reserved by defense.

        At the conclusion of this conference, counsel conferred concerning the contents of
this joint statement.

                                                Respectfully submitted,

                                                ROBERT J. TROESTER
                                                United States Attorney

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